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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


WILDEARTH GUARDIANS,

               Plaintiff,

vs.                                                                   No. CIV 07-1043 JB/ACT

UNITED STATES FOREST SERVICE,

               Defendant,

NEW MEXICO CATTLE GROWERS’
ASSOCIATION, COALITION OF ARIZONA/
NEW MEXICO COUNTIES FOR STABLE
ECONOMIC GROWTH, and NEW MEXICO
FEDERAL LAND COUNCIL,

               Defendant-Intervenors.


                            ORDER ON MOTION TO RECONSIDER

       THIS MATTER comes before the Court on Federal Defendant’s Motion to Reconsider,

filed January 7, 2011 (Doc. 85). The Court held a hearing on February 1, 2011. The primary issue

is whether the Court should reconsider its order withdrawing from its consideration Defendant-

Intervenors’ Response in Opposition to Joint Motion for Indicative Ruling, filed December 17, 2010

(Doc. 80)(“Response”). The Response contained confidential settlement materials. In its order, the

Court agreed not to consider the Response, but the Court did not strike the Response and its

supporting documents from the record, or remove it from the CM/ECF system. See Order on

Motion to Withdraw Defendant-Intervenors’ Response in Opposition to Joint Motion for Indicative

Ruling and Motion for Extension to File a Revised Response at 1, filed December 29, 2010 (Doc.

83). On January 7, 2011, Defendant United States Forest Service (“USFS”) filed a motion
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requesting that the Court reconsider its order. See Federal Defendant’s Motion to Reconsider at 1.

The USFS again requests that the Court strike the Response and its attachments from the record and

remove the materials from the CM/ECF system. See Federal Defendant’s Motion to Reconsider at

1. On January 10, 2011, the New Mexico Cattle Growers Association, the New Mexico Federal

Lands Council, and the Coalition of Arizona/New Mexico Counties for Stable Economic Growth

(“NMCGA”) filed a Response to Federal Defendant’s Motion to Reconsider. See Doc. 86. The

NMCGA stated that it did not oppose the removal of the documents from the CM/ECF system. See

Response to Federal Defendant’s Motion to Reconsider at 2. For the reasons stated on the record

at the hearing, the Court concludes that it will grant the USFS’ Motion to Reconsider. On February

23, 2011, the Court issued an order directing the New Mexico District Court Clerk's Office to

remove Doc. 80 (inclusive of all attachments) from the CM/ECF system.

       IT IS ORDERED that Federal Defendant’s Motion to Reconsider, filed January 7, 2011

(Doc. 85) is granted.


                                                         ________________________________
                                                         UNITED STATES DISTRICT JUDGE
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